
356 S.W.3d 878 (2012)
Everett WASHINGTON, Movant/Appellant,
v.
STATE of Missouri, Respondent/Respondent.
No. ED 96071.
Missouri Court of Appeals, Eastern District, Division Three.
January 17, 2012.
Roxanna A. Mason, St. Louis, MO, for Movant/Appellant.
Shaun J. Mackelprang, Dora A. Fichter, Jefferson City, MO, for Respondent/Respondent.
Before ROBERT G. DOWD, JR., P.J., MARY K. HOFF, J., and SHERRI B. SULLIVAN, J.

ORDER
PER CURIAM.
Everett Washington appeals from the motion court's judgment denying, without an evidentiary hearing, his amended Motion to Vacate, Set Aside or Correct Judgment and Sentence filed pursuant to Rule 29.15.[1] We have reviewed the briefs of the parties and the record on appeal and conclude the motion court's findings and conclusions are not clearly erroneous. Rule 29.16(k). An extended opinion would have no precedential value. We have, however, provided a memorandum setting forth the reasons for our decision to the parties for their use only. We affirm the judgment pursuant to Missouri Rule of Civil Procedure 84.16(b).
NOTES
[1]  All rule references are to Mo. R.Crim. P.2009, unless otherwise indicated.

